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                 UNITED STATES DISTRICT FOR THE DISTRICT
                              OF COLUMBIA


 UNITED STATES OF AMERICA                       )
                                                )
 v.                                             )       Case No. 21-cr-00303-ABJ
                                                )
 DEBORAH LEE                                    )
                                                )
  Defendant                                     )


      JOHN M. PIERCE’S RESPONSE TO THE COURT’S ORDER TO SHOW CAUSE

         John M. Pierce hereby files this Response to the Court’s Order To Show Cause dated July

21st, 2022, and, for the reasons stated herein, respectfully requests that the Court not strike his

appearance pursuant to Local Criminal Rule 44.1(f).

      1. I profoundly apologize to the Court for not being present at the hearing dated July 21st

         2022. It was not my intention (and never would be) to insult or disrespect the Court in

         any way, shape or form by my lack of appearance. This was an honest mistake based on

         my own misunderstanding, as set forth in more detail below. In sum, based on previous

         experience in other January 6th cases, I was under the belief (mistaken, obviously), that it

         was sufficient if another experienced attorney familiar with the Defendant appeared. I

         will ensure this does not happen again.

      2. Although I should have realized it much earlier, on July 13, 2022, it became apparent to

         me that there was a serious scheduling conflict that I had on the date initially scheduled

         for the hearing at issue, July 18, 2022. I had both this hearing scheduled in-person at 2

         p.m. ET in the District of Columbia, as well as what I anticipated to be a very lengthy

         dispositive motions hearing in the Circuit Court of Virginia for Spotsylvania County in

         the matter of Cory v. Thompson, et al., case number CL22-971. The calendar time for the
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   Cory hearing was 9 a.m. However, because it involved numerous motions including

   dispositive motions filed by numerous parties, and because the Virginia state court would

   have its typical trial-setting and motions calendar heard that day involving many cases, it

   was clear that the hearings in the Cory matter would consume most of the day, and that it

   would be impossible for me to get to the District of Columbia by 2 p.m. In addition, it

   was clear to me that it would be, practically speaking, impossible to prepare for both sets

   of hearings on the same day in any adequate way.

3. I conferred with the government, which extended me the professional courtesy of

   indicating it would not oppose a motion to continue. I filed a motion to continue later that

   day.

4. The following day, July 14, 2022, the Courtroom Deputy e-mailed counsel to inquire as

   to possible alternative scheduling arrangements. I indicated that Thursday, July 21, 2022,

   would work for my schedule and also requested a hearing by video conference due to

   cost concerns for both myself and the Defendant. The Court graciously accommodated

   these requests, and re-scheduled the hearing for 10 a.m. ET on July 21, 2022.

5. The Cory hearing did, indeed, commence much later than the 9 a.m. ET scheduled time (I

   believe the hearing on the matter commenced at approximately 10:45 a.m. or 11:00 a.m.

   ET). That is because the state court had many trial-setting and simpler motion hearings to

   attend to, and the Cory matter was by far going to be the lengthiest and most complex of

   the day. The hearing lasted approximately 4 or 5 hours, concluding in the mid-afternoon.

6. I intended to prepare for and attend the hearing on this matter on July 21, 2022. However,

   it became clear throughout the following days that I was overwhelmed with obligations
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   on numerous other matters (mostly civil) in which I represent hundreds of other clients in

   various cases either pending or yet to be filed across the country.

7. Because of this, I thought it would be better to have another attorney who was familiar

   with the Defendant appear at the hearing. I have co-counseled on numerous January 6th

   cases with William Shipley, an extremely experienced former federal prosecutor. Mr.

   Shipley previously had discussions with the Defendant regarding her case, and he

   graciously agreed to appear for the July 21, 2022 hearings. Mr. Shipley entered a notice

   of appearance and appeared at the hearing.

8. In each of my prior experiences in this Court on the more than couple dozen January 6th

   cases in which I have been involved, when an attorney of record appeared at a hearing

   but other attorneys of record in the same matter had not, there had not been an issue

   regarding the non-appearance of the other attorneys. I simply assumed that would be the

   case here, and so I did not appear, and rather spent that time working on my many other

   case obligations.

9. Obviously I was wrong in my judgment, and I sincerely apologize to the Court. I should

   have realized that because the Court had made specific accommodations in re-scheduling

   the matter based upon my request, schedule and consent, I should have appeared. I will

   not make the same mistake again.

10. It is probably fair to say that I have over-extended my schedule and my physical capacity

   over the past two years or more, including the State of Wisconsin v. Rittenhouse and the

   many January 6th cases I have taken on. I hope the Court will understand that this is

   primarily because I have considered it an important obligation of an American lawyer to

   stand for those who are most in need. Regardless, everyone has limits. I have taken steps
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       to begin culling my caseload and to obtain additional administrative and substantive

       assistance.

   11. With the utmost respect, I request the Court not strike my appearance in this matter

       pursuant to Local Criminal Rule 44.1(f). I honestly had no intent to violate any rule,

       Court order or etiquette. In approximately 21 years of practice, I never have done so and

       never would do so. I have the utmost respect for this Court and its rules. Again, I

       earnestly submit that I will not make the same mistake again in this or any other matter

       before this Honorable Court.



Dated: July 28th, 2022

                                                                    Respectfully submitted,

                                                                    JOHN PIERCE LAW P.C.

                                                                    /s/ John M. Pierce
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